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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                     Plaintiff,
v.                                                 Case No. CR-20-050-JFH

JIMCY McGIRT,

                     Defendant.



                 GOVERNMENT’S NOTICE OF INTENT TO ADMIT
                  EVIDENCE OF OTHER CHILD MOLESTATION



                                       Respectfully submitted,

                                       BRIAN KUESTER
                                       United States Attorney

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                    GOVERNMENT’S NOTICE OF INTENT TO ADMIT
                     EVIDENCE OF OTHER CHILD MOLESTATION

       COMES NOW, the United States of America, by and through United States Attorney Brian

J. Kuester, and Assistant United States Attorney Sarah McAmis, and hereby gives Notice to the

Defendant of its intent to offer evidence of other child molestation during the jury trial of the case

at bar and pursuant to the Federal Rules of Evidence, Rule 414.

                          STATEMENT OF THE CASE AND FACTS

       On July 31, 2020, the Government filed a Complaint against the Defendant. (Doc. 1). An

Initial Appearance was held on August 14, 2020. (Doc. 7). The Defendant was indicted on August

17, 2020. (Doc. 12). A Detention Hearing was held on August 25, 2020. (Doc. 22). The

Defendant filed his Motion in Limine on September 8, 2020. (Doc. 25). A Superseding Indictme nt

was filed against the Defendant on September 14, 2020. (Doc. 32).

       The Defendant is a 71-year-old man who sexually abused three children in the late 1980’s

and 1990’s when he was in his 40’s. He has been incarcerated in the Oklahoma Department of

Corrections since 1997.

       On December 29, 1988, the Defendant was charged with two counts of Forcible Oral

Sodomy in Oklahoma County Case Number CF-1988-7088. On January 31, 1989, the Defendant

entered guilty pleas.   As part of the pleas, the Defendant wrote and swore to the following

Summary of Facts:

               Count 1:        [D.G.] asked me for some more money, I gave him
               some the day before to do some work, I told him I would give him
               the money if he would allow me to put his penis in my mouth. I did
               this to 8 year old.

               Count 2:       [A.G.] came to me wanting money too. The next day
               I told him I would give him the money to let me put his penis in my
               mouth. I did this to the 5 year old.

       On October 21, 1996, the Defendant was charged with one count of First Degree Rape by

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Instrumentation, one count of Lewd Molestation, and one count of Forcible Sodomy in Wagoner

County Case Number CF-1996-355. The victim, B.B., was four-years-old and the abuse was

alleged to have occurred between on or about August 8, 1996 and August 15, 1996. The case

proceeded to Jury Trial and the Defendant was found guilty of all three counts on June 24, 1997.

He was sentenced to 500 years for the Rape, 500 years for the Molestation, and Life Without the

Possibility of Parole for the Sodomy.

       On July 9, 2020, the United States Supreme Court issued its opinion in the case of McGirt

v. Oklahoma, 140 S.Ct. 2452 (2020). The Mandate was issued on August 10, 2020. Pursuant to

the Court’s Ruling, the locations wherein the above listed sexual abuse of B.B. was committed by

the Defendant became designated as a location within the territorial boundaries of the Muscogee

(Creek) Nation reservation. The Defendant was indicted in the case at bar and on September 2,

2020, the Oklahoma Court of Criminal Appeals entered its Order Vacating the Defendant’s

Wagoner County conviction.

       At the time of his crimes against B.B., the Defendant was married to B.B.’s grandmother,

N.B. The couple remained married during the Defendant’s jury trial and after his conviction. After

he was in prison, McGirt sent his wife a letter wherein he apologized for the sexual abuse of B.B.

and claimed that he had not been in his right mind and that the devil made him do it. The letter

was a turning point, and N.B. initiated divorce proceedings. The divorce was granted on August

15, 2000.

       At the time she received it, N.B. shared the letter with B.B.’s mother, D.K. B.B.’s mother

read the contents of the original letter and she likewise recalls that the Defendant apologized and

blamed his actions on the devil. Since then, the original letter has gone missing. The words and

actions of the Defendant after his convictions in the Wagoner County case that has now become

the case at bar bear a close resemblance to his words and actions in the Oklahoma County case

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involving D.G. and A.G. As in the case at bar, the Defendant originally denied that he abused

D.G. and A.G. He later admitted to abusing both boys, but made statements in which he sought to

minimize his responsibility:

               I’ve pled guilty recognizing my need for psychiatric help. I am
               neither a homosexual or a habitual child molester. This incident was
               a first and last…At the time of the crime I was driven by a perverted
               sexual desire influenced greatly by the type of sexual stimulation I
               was receiving at home…Frustration after frustration caused me to
               turn from a compassionate loving father and husband to a stoney
               hearted self-centered man….

                               ARGUMENT AND AUTHORITIES

I.     FEDERAL RULE OF EVIDENCE 404(b)

       The evidence of the Defendant’s abuse of D.J. and A.J. should be admitted as FRE Rule

404(b) evidence. Federal Rule of Evidence 404. Provides in pertinent part:

                (b) Crimes, Wrongs, or Other Acts.
             I.     Prohibited Uses. Evidence of a crime, wrong, or other act is not
                    admissible to prove a person’s character in order to show that on
                    a particular occasion the person acted in accordance with the
                    character.
            II.     Permitted Uses; Notice in a Criminal Case. This evidence may
                    be admissible for another purpose, such as proving motive,
                    opportunity, intent, preparation, plan, knowledge, identity,
                    absence of mistake, or lack of accident. On request by a
                    defendant in a criminal case, the prosecutor must:
                        (A) provide reasonable notice of the general nature of any
                        such evidence that the prosecutor intends to offer at trial; and
                        (B) do so before trial —or during trial if the court, for good
                        cause, excuses lack of pretrial notice.

“Rule 404(b) is considered to be an inclusive rule, admitting all evidence of other crimes or acts

except that which tends to prove only criminal disposition.” United States v. Burgess, 576 F.3d

1078, 1098 (10th Cir. 2009), citing United States v. Tan, 254 F.3d 1204, 1208 (10th Cir. 2001).

Fed. R. Evid. 404(b)(1) states evidence cannot be used if its only purpose is to expose “a person’s

character in order to show that on a particular occasion the person acted in accordance with the

character.” However, the evidence may be admitted as proof of “motive, opportunity, intent,
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preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid.

404(b)(2).

       The Tenth Circuit Court requires a district court apply a four prong test to determine if the

Rule 404(b) evidence is admissible. First, the court must determine if the evidence is offered for

the proper purpose. Second, it must be relevant. Third, the court must determine, according to Rule

403, whether the probative value is substantially outweighed by its potential for unfair prejudice;

and Fourth, the trial court shall, upon request, instruct the jury that evidence of similar acts is to

be considered only for the proper purpose for which it was admitted. United States v. Zamora, 222

F.3d 756, 762 (10th Cir.2000).

II.    FEDERAL RULE OF EVIDENCE 414

       Cases which involve the sexual abuse of children are fundamentally different from most

any other criminal case. The dynamics involved include everything from the secrecy and shame

associated with sexual abuse, to the difficulties that children have in disclosing the abuse, to the

nature of the family relationships. Congress recognized the unique issues encountered in these

cases when it enacted Rule 414 of the Federal Rules of Evidence, entitled “Similar Crimes in Child

Molestation Cases”.

       In the discussion leading up to the passage of Rule 414, the Principal House Sponsor

addressed Congress about the intricacies of child sexual abuse cases.              As set forth in the

“Congressional     Discussion” section describing        the enactment     of Rules 413 and 414,

Representative Molinari spoke the following to Congress:

                         Mr. Speaker, the revised conference bill contains a critical
                 reform that I have long sought to protect the public from crimes of
                 sexual violence – general rules of admissibility in sexual assault and
                 child molestation cases for evidence that the defendant has
                 committed offenses of the same type on other occasions….
                         The proposed reform is critical to the protection of the public
                 from rapists and child molesters, and is justified by the distinctive
                 characteristics of the cases it will affect. In child molestation cases,
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                for example, a history of similar acts tends to be exceptiona lly
                probative because it shows an unusual disposition of the defendant
                – a sexual or sadosexual interest in children – that simply does not
                exist in ordinary people. Moreover, such cases require reliance on
                child victims whose credibility can readily be attacked in the
                absence of substantial corroboration. In such cases, there is a
                compelling public interest in admitting all significant evidence that
                will illumine the credibility of the charge and any denial by the
                defense….
                         The practical effect of the new rules is to put evidence of
                uncharged offenses in sexual assault and child molestation cases on
                the same footing as other types of relevant evidence that are not
                subject to a special exclusionary rule. The presumption is in favor
                of admission. The underlying legislative judgment is that the
                evidence admissible pursuant to the proposed rules is typically
                relevant and probative, and that its probative value is normally not
                outweighed by any risk of prejudice or other adverse effects….
                         Evidence of offenses for which the defendant has not
                previously been prosecuted or convicted will be admissible, as well
                as evidence of prior convictions. No time limit is imposed on the
                uncharged offenses for which evidence may be admitted; as a
                practical matter, evidence of other sex offenses by the defendant is
                often probative and properly admitted, notwithstanding very
                substantial lapses of time in relation to the charged offense or
                offenses….
                         To implement the legislative intent, the courts must liberally
                construe these rules to provide the basis for a fully informed decision
                of sexual assault and child molestation cases, including assessment
                of the defendant’s propensities and questions of probability in light
                of the defendant’s past conduct.

        Since Rule 414’s enactment, the Tenth Circuit Court of Appeals on multiple differe nt

occasions has explained and upheld its use in cases involving the sexual abuse of a child. In one

of the first cases after the Rule was implemented, the court distinguished Rule 414’s applicatio n

from that of Rule 404(b). In United States v. Meacham, 115 F.3d 1488, 1490 (10th Cir. 1997), the

defendant was convicted of transporting a minor in interstate commerce with the intent to engage

in sexual activity.   The defendant complained on appeal that the district court should not have

allowed into evidence the allegations that he had also molested his two step-daughters some 30

years earlier. Id. Because Rule 414 had been newly enacted, the Tenth Circuit analyzed the

admission of the evidence under both Rule 404(b) and Rule 414. Id. at 1491.
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       The court first held that Rule 414 “provides a specific admissibility standard in sexual

assault cases, replacing [Rule] 404(b)’s general criteria” and that it “supersede[s] in sex offenses

the restrictive aspects of Rule 404(b).” Id. The court then recognized that pursuant to the language

in Rule 414, “there is no time limit beyond which prior sex offenses by a defendant are

inadmissible.” Id. at 1492. The court also recognized that “clearly under Rule 414, the courts are

to ‘liberally’ admit evidence of prior uncharged sex offenses.” Id. In upholding the admission of

the evidence that the defendant had previously molested his step-daughters, the court held that the

evidence was admissible under both a Rule 404(b) analysis and a Rule 414 analysis and that the

evidence was relevant to show the defendant’s intent. Id. at 1492-1493.

       Over the next ten years, the Tenth Circuit Court provided additional guidance for the trial

courts to use when analyzing the prospective evidence under Rule 403 and when determining

whether the probative value of the Rule 414 evidence was substantially outweighed by the danger

of unfair prejudice. See: United States v. Meacham, 115 F.3d 1488 (10th Cir. 1997); United States

v. Guardia, 135 F.3d 1326 (10th Cir. 1998); United States v. Enjady, 134 F.3d 1427 (10th Cir.

1998); United States v. Castillo, 140 F.3d 874 (10th Cir. 1998); and United States v. McHorse, 179

F.3d 889 (10th Cir. 1999). In United States v. Benally, 500 F.3d 1085 (10th Cir. 2007), the court

relied upon the above-listed cases and provided a framework for trial courts to use when

determining the admissibility of Rule 414 evidence. The defendant was tried for the crime of

Aggravated Sexual Abuse of a Minor under the age of 16 while in Indian Country and Rule 414

evidence was allowed that the defendant had molested four other girls between 20 and 40 years

earlier. Id. at 1086 and 1088.

       On appeal, the defendant argued that when conducting its analysis under Rule 403, the

district court should have determined that the probative value of admitting the 414 evidence was

substantially outweighed by the danger of unfair prejudice. Id. at 1089. The court first recognized

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that Rule 414 was an exception to the general Rule 404 which normally “prohibits the admissio n

of evidence for the purpose of showing a defendant’s propensity to commit bad acts.” Id. The

court reiterated that “courts are to ‘liberally’ admit evidence of prior uncharged sex offenses” so

that they can be “[c]onsistent with congressional intent regarding the admission of evidence

tending to show the defendant’s propensity to commit sexual assault or child molestation.” Id. at

1090. The court then provided the three threshold requirements that a district court must consider

and determine before admitting 414 evidence of prior sexual assault:

               1) The defendant is accused of a crime involving sexual assault or
                  child molestation,
               2) The evidence proffered is evidence of the defendant’s
                  commission of another offense or offenses involving sexual
                  assault or child molestation, and
               3) The evidence is relevant.

Id.

        The inquiry by the court does not end once the three threshold requirements are met. The

district court must then “make a preliminary finding that a jury could reasonably find that the

‘other act’ occurred by a preponderance of the evidence. Id. The district court should consider:

               1) How clearly the prior act has been proved,
               2) How probative the evidence is of the material fact it is admitted
                  to prove,
               3) How seriously disputed the material fact is, and
               4) Whether the government can avail itself of any less prejudicia l
                  evidence.

Id. (citations omitted and also referred to as the Enjady factors).    When the district court is

analyzing the probative dangers, it should consider:

               1) How likely it is such evidence will contribute to an improperly-
                  based jury verdict,
               2) The extent to which such evidence will distract the jury from the
                  central issues of the trial, and
               3) How time consuming it will be to prove the prior conduct.




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Id. The Benally Court continued to provide guidance to district courts by stating that when

analyzing the probativeness of the evidence, the district court should non-exclusively consider:

                    1)   The similarity of the prior acts and the charged acts,
                    2)   The time lapse between the other acts and the charged acts,
                    3)   The frequency of the prior acts,
                    4)   The occurrence of intervening events, and
                    5)   The need for evidence beyond the defendant’s and alleged
                         victim’s testimony.

Id. at 1090-1091.

           Using each set of the above guidelines, the court applied the facts of the Benally case.

Ultimately, the court concluded that the 414 evidence was highly probative because of “the

similarity between the current charge and the prior acts.” Id. at 1091. The court also found that

whether the current charged act occurred was “hotly disputed” and that “because of questions

about the credibility of the child witnesses, there was no other evidence available to the defense

that would be less prejudicial.” Id. at 1092. Finally, the court discounted the defendant’s argument

that the only reason for the introduction of the evidence was to bias the jury, and instead reiterated

that “[e]vidence of other similar crimes involving sexual assault and child molestation was

determined by Congress to be probative of a defendant’s propensity to commit such crimes.” Id.

at 1093.

           In United States v. Koruh, 2000 U.A. App. LEXIS 13210, *2, (unpublished) 1 , the Tenth

Circuit again considered a defense argument that the Rule 414 evidence should not have been

admitted because it occurred more than 16 years prior and it was prejudicial.                        In affirming the

conviction, the court found that in this case of intra-family child sexual abuse, “the testimony of

the alleged victims and the alleged perpetrator were in direct conflict.” Id. at *8. The court found

that the district court properly admitted the evidence because it was “probative because there were



1   Unpublished decisions are not precedential, but may be cited for their persuasive value. 10th Cir. R. 32.1(A).

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similarities between the alleged molestations” in that “[b]oth the alleged victims and the daughter

are female and related to the defendant…the girls were each under the age of 12 years old at the

time of the offense, and the molestations allegedly occurred in or near the defendant’s homes.”

Id. at *13.

        In 2016, the defendant in United States v. Mercer, 653 Fed.Appx. 622 (10th Cir. 2016),

appealed his conviction on the grounds that evidence of the three children he had previously

molested should not have been admitted pursuant to Rule 414.              The defendant denied the

underlying charge of possession of child pornography and alleged that someone else had

downloaded the images onto his computer.        Id. at 624. The court found that the defendant

“vigorously denied that he was guilty” and “[t]he more seriously disputed the material fact, the

more heavily this factor weighs in favor of admissibility.” Id. at 628.

        In upholding the defendant’s conviction, the court held that “Rule 414 evidence ‘may be

considered on any matter to which it is relevant’, including the defendant’s propensity. Congress

did not require additional proof of propensity – the rule is based on the principle that evidence of

child molestation is inherently probative of the propensity to commit other acts of child

molestation or abuse, including child pornography offenses.” Id. at 627-628. In so holding, the

court upheld the admission of the 414 evidence because “the evidence is clearly probative of

defendant’s…intent, knowledge, and absence of mistake…because each involved prepubescent

children.” Id. at 628.

        The court specifically disagreed with the defendant’s proposition that the 414 evidence led

the jury to convict him “because a bad person deserves punishment”. Id. at 629. Instead the court

found that “Rule 414 evidence will almost always have a profound impact on the jury and cause it

to feel disgust toward the defendant. Congress knew that when it enacted [the Rule] and intended




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to allow a fairly broad range of evidence to show the defendant’s propensity.” Id. at 629-630. The

court opined that “[t]o hold otherwise would undermine Rule 414 entirely.” Id. at 629.

           Recently, in United States v. Magnan, 2018 U.S. App. LEXIS 33353, (unpublished), the

Tenth Circuit provided further counsel on all of the factors that the trial court must weigh when

considering 414 admissibility. The court held that when considering the Enjady factors, “no single

factor is dispositive.” Id. at *30. For instance, in the Magnan case, the court found that the “need

for testimony outside of the charged conduct was minimal” and weighed “slightly against the

government”. Id. at *31. The court also found that “the amount of evidence regarding the charged

conduct was so overwhelming in itself that [the 414] evidence surely would not be dispositive and

most certainly did not need to be introduced”. Id. at *32. The court made a finding that that factor

also “slightly weighed against admission.” Id. However, because “on balance” the sub-factors

weighed in favor of admission, the probative value was not substantially outweighed by the danger

of unfair prejudice and the evidence was properly admitted. Id. at *31 and *33.

              ANALYSIS OF THE EVIDENCE OF OTHER CHILD MOLESTATION
                                IN THE CASE AT BAR

           In the case at bar, the Defendant is accused of sexually abusing the victim when she was

4-years-old. The victim is now 28-years-old. It is through no fault of the victim that she must

now testify again after 24 years. The Government is seeking to introduce evidence pursuant to

Rule 414 that the Defendant also perpetrated and confessed to sexual abuse upon at least two (2)

other children just eight years before the victim in the case at bar. 2


           As in the Meachum case, supra, the Government first argues that with respect to the

Defendant’s molestation of D.G. and A.G., the evidence is not restricted or prohibited by any time

frame. The Government also argues that pursuant to Meachum, this Court should liberally admit


2 The   Defendant was only out-of-custody for five years before his abuse of B.B. He has been in-custody ever since.

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the evidence of the Defendant’s other sexual offenses and that the evidence should be admissib le

to show the Defendant’s intent.


       The Government submits that the evidence in the case at bar meets all of the criteria for

admission as set forth in the Benally case, supra. Using the steps outlined by the Tenth Circuit

Court of Appeals, the evidence of other child molestation offered herein is admissible as follows:

       1) The defendant is accused of a crime involving sexual assault or child
          molestation,

               a. In the case at bar, the Defendant is accused of perpetrating
                  sexual abuse upon the victim when she was 4-years-old.

       2) The evidence proffered is evidence of the defendant’s commission of
          another offense or offenses involving sexual assault or child
          molestation, and

               a. The Defendant previously confessed to perpetrating sexual
                  abuse upon a 5-year-old and an 8-year-old.

       3) The evidence is relevant.

               a. The Government submits that the evidence that the Defendant
                  perpetrated prior sexual abuse upon two separate children is
                  highly relevant of his intent and that the admission of the
                  evidence would be “[c]onsistent with congressional intent
                  regarding the admission of evidence tending to show the
                  defendant’s propensity to commit sexual assault or child
                  molestation.”

Once this Court has made the preliminary finding that the three threshold requirements are met,

this Court must then consider the following:


       1) How clearly the prior act has been proved,

               a. In Mercer, 653 Fed.Appx. 622, 626 (2016), the court held that
                  under this factor, “the district court must find ‘that a jury could
                  reasonably find that the ‘other act’ occurred by a preponderance
                  of evidence.”




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         b. In Magnan, 2018 U.S. App. LEXIS 33353, *30, (unpublished),
            the court found that “the victims gave detailed testimony
            regarding the sexual abuse – both charged and uncharged.
            Given the detailed testimony of the victims, we believe that there
            was sufficient evidence for the jury to conclude, by a
            preponderance of evidence, that the uncharged instances of child
            molestation occurred.”

         c. In the case at bar, the Defendant confessed in detail to the sexual
            abuse that he perpetrated on his other two (2) victims and
            provided an alleged excuse or justification for his actions.

  2) How probative the evidence is of the material fact it is admitted to prove,

         a. In Koruh, 2000 U.S. App. LEXIS 6126, *13, (unpublished), the
            court held that the evidence was probative because “there were
            similarities between the alleged molestations”, including that all
            of the victims were related to the defendant and were under 12-
            years-old at the time, and the molestations occurred in or near
            the defendant’s homes.

         b. The Court in Mercer, 653 Fed.Appx. 622, 627 (10th Cir.), found
            that the 414 evidence was clearly probative of the defendant’s
            propensity, and his intent, knowledge, and absence of mistake;
            in part because the prior molestations and the charged crimes
            were sufficiently similar because each involved prepubescent
            children.

         c. In Benally, 500 F.3d 1085 (10th Cir. 1987), the court found that
            the proposed 414 evidence was highly probative because of the
            similarities between the current charges and the additional acts.

         d. In United States v. Meacham, 115 F.3d 1488 (10th Cir. 1997),
            the court upheld the trial court’s admission of 414 and held, “our
            case is different because the government had to prove intent to
            travel interstate to sexually abuse the minor relative and the
            stepdaughter’s testimony suggests a similar pattern of sexual
            abuse of female minor relatives made possible by exploitatio n
            of familial authority. Similarity of prior acts to the charged
            offense may outweigh concerns of remoteness in time.”

         e. There are a number of similarities in the case at bar between the
            abuse with the current victim and the additional acts alleged in
            this 414 Notice in that each involve children of a similar age and
            that each occurred in secret after the Defendant had access to the
            child.



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  3) How seriously disputed the material fact is,

         a. The Tenth Circuit in Benally, 500 F.3d 1085, 1092 (10th Cir.
            2007), describes the alleged assault involved in that case as
            “hotly disputed”.

         b. In Magnan, 2018 U.S. App. LEXIS 33353, *31, (unpublished),
            the court found that “[t]his factor goes to the nub of the case –
            Magnan vehemently denied that he was guilty and had the
            propensity to commit child sexual abuse.”

         c. The Court in Mercer, 653 Fed.Appx. 622, 628 (10th Cir.), found
            that “[t]he more seriously disputed the material fact, the more
            heavily this factor weighs in favor of admissibility. Therefore,
            because Mercer denied the allegations and their implicatio ns
            vigorously, this factor weighed significantly against him.”

         d. In Koruh, 2000 U.S. App. LEXIS 6126, *8, (unpublished), the
            court found that “the testimony of the alleged victims and the
            alleged perpetrator were in direct conflict.”

         e. The allegations in the case at bar are likewise heavily contested.
            In his Motion filed on September 8, 2020, the Defendant accused
            the victim’s mother of coaching her, he claimed that the victim’s
            mother has a “history of manipulating witnesses and evidence”,
            he accused the victim of saying another man also molested her,
            he claimed the victim did not suffer physical trauma, and
            asserted that the victim, her mother, and her deceased aunt all
            have a motive to lie. (Doc. 25).

  4) Whether the government can avail itself of any less prejudicia l
     evidence.

         a. In Koruh, 2000 U.S. App. LEXIS 6126, *12, (unpublished), the
            court found “less prejudicial evidence was insufficient because
            the testimony of the alleged victims and the alleged perpetrator
            was in direct conflict.”

         b. When considering this factor, the Benally court, 500 F.3d 1085,
            1091-1092 (10th Cir. 2007), held “[i]n completing its analysis of
            probativeness, the court turned to the government’s need for the
            Rule 413/414 evidence and stated the government’s reliance on
            child witnesses whose credibility would ‘surely be challenged’
            necessitated the introduction of the prior acts evidence
            …because of the questions about the credibility of the child
            witnesses, there was no other evidence available to the defense
            that would be less prejudicial.”

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               c. In the case at bar, the Defendant has already challenged           the
                  victim’s credibility and that of her mother, grandmother,         and
                  deceased aunt. It is anticipated this will continue during the   jury
                  trial. The Government asserts that it does not have              less
                  prejudicial evidence that it can avail itself of.

The next set of factors for this Court to consider when weighing the probative dangers of admitting

the 414 evidence include the following:

       1) How likely it is such evidence will contribute to an improperly-based
          jury verdict,

               a. In Mercer, 653 Fed.Appx. 622, 628 (10th Cir. 2016), the court
                  found that the evidence would not contribute to an improperly-
                  based verdict because the district court “would give limiting
                  instructions ‘at the time the testimony was given’ and again prior
                  to jury deliberations. Given that we assume juries follow their
                  instructions, the court found the likelihood of an improper
                  verdict was small.”

               b. In Benally, 500 F.3d 1085, 1092-1093 (10th Cir. 2007), the court
                  recognized that the 414 evidence was not “introduced to bias the
                  jury; but rather, because that type of ‘evidence was determined
                  by Congress to be probative of a defendant’s propensity to
                  commit such crimes.’” Likewise, the Court found that “the risk
                  of an improper jury verdict would be lessened by providing
                  limiting instructions to the jury.”

               c. And see Magnan, 2018 U.S. App. LEXIS 33353, *32,
                  (unpublished), below in paragraph 3(c)(ii).

               d. In the case at bar, the Government will request that this Court
                  give limiting instructions to the jury regarding the 414 evidence
                  at the time it is admitted and before the jury deliberates. As such,
                  the evidence will not contribute to an improperly-based jury
                  verdict.

       2) The extent to which such evidence will distract the jury from the central
          issues of the trial, and

               a. In the Mercer, 653 Fed.Appx. 622, 628 (10th Cir. 2016), case,
                  the defendant argued that the admittance of the 414 evidence
                  caused a risk of unfair prejudice. However, the court found that
                  such a risk would be present every time such evidence was
                  admitted and “[t]o hold otherwise would undermine Rule 414

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            entirely. Rule 414 evidence will   almost always have a profound
            impact on the jury and cause       it to feel disgust toward the
            defendant. Congress knew this      when it enacted Rule 414 and
            intended to allow a fairly broad   range of evidence to show the
            defendant’s propensity…”.

         b. In Koruh, 2000 U.S. App. LEXIS 6126, *13, (unpublished), the
            court found that unfair prejudice would not likely result from the
            admission of the 414 evidence “because the jury has the option
            to disbelieve the Rule 414 testimony”.

         c. And see Magnan, 2018 U.S. App. LEXIS 33353, *32,
            (unpublished), below in paragraph 3(c)(ii).

         d. In the case at bar, the Government submits that the proposed 414
            evidence will not distract the jury from the central issues of the
            trial because this Court will issue limiting instructions, the jury
            will have the option to disbelieve the proposed 414 evidence,
            and because Congress knew that 414 evidence had the potential
            to be prejudicial but still dictated that it be liberally admitted.

  3) How time consuming it will be to prove the prior conduct.

         a. In Mercer, 653 Fed.Appx. 622, 628 (10th Cir. 2016), the court
            found that this criteria was met because “the testimony would be
            brief.”

         b. And see Magnan, 2018 U.S. App. LEXIS 33353, *32,
            (unpublished), below in paragraph 3(c)(ii).

         c. In the case at bar, the Government’s presentation of the evidence
            of the Defendant’s other acts of child molestation will not be
            overly time consuming and will be presented in a concise
            manner. The evidence can be presented through the individ ua l
            who took the Defendant’s confession in the Oklahoma County
            case and a certified copy of the Defendant’s hand written
            statement.

                ii.     In Magnan, 2018 U.S. App. LEXIS 33353, *32,
                        (unpublished), the court considered the above three
                        factors together and found, “We do not believe, in a
                        case which was centered on sexual abuse where there
                        were multiple victims and a large amount of
                        testimony going toward the charged conduct, that
                        any of these three factors would preclude admissio n
                        of the evidence.”



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Finally, when considering whether to admit the Government’s requested 414 evidence, this Court

should also non-exclusively consider:

       1) The similarity of the prior acts and the charged acts,

              a. The Government submits that in the case at bar, the analysis for
                 this factor is the same as the analysis for “How probative the
                 evidence is of the material fact it is admitted to prove” and the
                 Government’s answers in “a-e” above.

       2) The time lapse between the other acts and the charged acts,

              a. In Meacham, 115 F.3d 1488, 1495 (10th Cir. 1997), the court
                 held that the “[s]imilarity of prior acts to the charged offense
                 may outweigh concerns over remoteness in time.” The court
                 also held, “there is no time limit beyond which prior sex offenses
                 by a defendant are inadmissible. Id. at 1492. In the Meacham
                 case, the 414 evidence that was admitted had occurred more than
                 30 years prior. Id. at 1490.

              b. In Benally, 500 F.3d 1085, 1091 (10th Cir. 2007), the oldest
                 proposed 414 evidence had occurred some forty years earlier.
                 The court “acknowledged the significant time lapse
                 …[and]…ultimately concluded, however, that the time lapse did
                 not in itself negate the probative value of the testimony about the
                 prior incidents and stated that the incidents were still ‘highly
                 probative’, despite their age.” Id. The court also reiterated
                 “there is no time limit beyond which prior sex offenses by a
                 defendant are inadmissible”. Id.

              c. In Mercer, 653 Fed.Appx. 622, 628 (10th Cir. 2016), the 414
                 evidence had occurred during the previous decade; however, the
                 court found “that the time lapse does not significantly affect the
                 probative value of the evidence.”

              d. In the case at bar, the Defendant was out-of-custody only five
                 (5) years between the time he molested his first and second
                 victim and the time when he molested his third victim. As the
                 Tenth Circuit cases clearly dictate, the difference in time does
                 not in any way affect the probative value of the evidence of the
                 Defendant’s other child molestation.

       3) The frequency of the prior acts,

              a. The Defendant molested his first two victims on the consecutive
                 days that he had access to them, on December 22 and 23, 1988.

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                  He molested the victim in the case at bar over the course of the
                  week that he had access to her, August 8 through 15, 1996.

       4) The occurrence of intervening events, and

              a. In Mercer, 653 Fed.Appx. 622, 627 (10th Cir. 2016), the court
                 held that “neither the frequency of the prior acts nor the
                 occurrence of intervening events significantly affects the
                 probative value.”

              b. In Magnan, 2018 U.S. App. LEXIS 33353, *31, (unpublished),
                 the court found that “[e]ach of the victims spoke extensively of
                 the sexual abuse that occurred to them during the course of the
                 trial related to charged and uncharged conduct. For the record,
                 we are convinced that sub-factors one through four weigh in
                 favor of admitting the testimony.”

              c. In Benally, 500 F.3d 1085, 1093 (10th Cir. 2007), the defendant
                 alleged that the prior acts had occurred when he was an
                 alcoholic. The court found that the defendant “is correct that a
                 change in his drinking habits may generally constitute an
                 intervening circumstance…[however]…the change in Benally’s
                 drinking habits is not an adequate intervening circumsta nce
                 requiring the exclusion of the prior acts testimony.” The court
                 also found that “there had been no intervening events between
                 the first cluster of assaults, the alleged [414 evidence], and the
                 charged conduct…to undermine the probative value of the
                 evidence.” Id. at 1091.

              d. In the case at bar, the Defendant sexually abused his first victims
                 after he gained their trust and was able to be alone with them.
                 He then sexually abused the victim after marrying her
                 grandmother and being alone with her. The only interve ning
                 circumstance was the fact that the Defendant was incarcerated
                 without access to children.

       5) The need for evidence beyond the defendant’s and alleged victim’s
          testimony.

              a. The Government submits that in the case at bar, the analysis for
                 this factor is the same as the analysis for “How seriously
                 disputed the material fact is” and the Government’s answers in
                 “a-e” above.

       While evidence of prior child molestation is admissible pursuant to Rule 414, this same

evidence is also admissible pursuant to Rule 404(b) as proof of motive (the Defendant sexually

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abused his victims for his sexual gratification), intent (the Defendant waited until he was alone

with his victims so that he could sexually abuse them in secret), identity (the Defendant alleges it

was another man who sexually abused the victim in the case at bar), and absence of mistake or

accident (he purposefully sexually abused victims of a similar age and in a similar manner).


                                           CONCLUSION

       For the above stated reasons, the Government requests the Court allow the admission of

prior child molestation as relevant evidence pursuant to Rule 414 as well as Rule 404(b) for the

purpose of motive, intent, identity, and absence of mistake or lack of accident.


                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 15th day of September, 2020, I electronically transmitted the
attached documents to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrant:
       Richard O’Carroll
       Counsel for Defendant


                                      s/      Sarah McAmis
                                              SARAH McAMIS
                                              Assistant United States Attorney


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